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                                 UNITED STATES BANKRUPTCY COURT
                                  WESTERN DISTRICT OF MICHIGAN

IN RE: Angela H. Davenport                                                 CASE NO: 18-00025
__________________,                                                        CHAPTER 7
Debtor                                                                     HON. Scott W. Dales
____________________/

                         STIPULATED MOTION TO PERMIT EXECUTION AND
                              RECORDING OF MORTGAGE AND LIEN

       NOW COMES the Debtor, Linda M. Keefe, by and through her attorney, Lynn Osborne and
Chapter 7 Trustee and stipulates as follows:

1. Debtor filed a petition for Chapter 7 relief on or about January 5, 2018.

2. Debtor has applied for assistance from Michigan’s Helping Hardest Hit Homeowners program,
otherwise known as Step Forward Michigan.

3. Step Forward Michigan will consider applications for homeowners in bankruptcy provided they
receive authorization from the Bankruptcy Court permitting the Debtor to:

        a. Accept Hardest Hit Funds® assistance that will be paid directly to the mortgage lender (See
        attached Exhibit A: Instructions for Bankruptcy Clients letter).

        b. Execute a Note which will have a 0% interest rate, and require no payments. The principal
        amount of assistance will be forgivable over a five-year (5) term at 20% per year. During that
        time, any portion of the principal not forgiven is due only if there is a transfer of the property or
        if the property ceases to be the homeowner’s principal residence.

        c. Execute and record a Michigan Housing Authority Mortgage Lien on the principal residence.

5. If Debtor’s application is approved, the awarded funds will be paid directly to the mortgage lender
and be applied to the mortgage account.

6. The awarded funds may be paid in one lump sum or over a twelve month period.

7. This request will not reduce the amount received by the unsecured creditors.

8. In all other respects, this Chapter 7 remains unchanged.

THEREFORE, the Debtor and Trustee agree that:

1. Debtor is permitted to accept funds from Michigan’s Helping Hardest Hit Homeowners program,
otherwise known as Step Forward Michigan if Debtor’s application is approved.

2. Debtor is permitted to execute a Note in favor of Michigan Housing Authority which will have a 0%
interest rate, and require no payments. The principal amount of assistance will be forgivable over a five-
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year (5) term at 20% per year. During that time, any portion of the principal not forgiven is due only if
there is a transfer of the property or if the property ceases to be the homeowner’s principal residence.

3. Debtor is permitted to execute and record a Michigan Housing Authority Mortgage Lien on Debtor’s
principal residence.




Dated: 2/6/2018                                                  /s/Lynn Osborne
                                                                 Lynn Osborne (P66545)
                                                                 Debtor’s Attorney
                                                                 401 W. Ionia Street
                                                                 Lansing, MI 48933
                                                                 (517) 708-2992
                                                                 ecflopc@aol.com

Dated: 2/6/2018                                                  /s/John A. Porter
                                                                 John A. Porter
                                                                 Chapter 7 Trustee




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